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  8
                         IN THE UNITED STATES DISTRICT COURT
  9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 13   GARY G., et al.,                           Case No. 5:23-cv-00947-MEMF-
                                                 BFMx
 14                                Plaintiff,
                                                 GOVERNOR GAVIN NEWSOM’S
 15              v.                              REPLY BRIEF IN SUPPORT OF
                                                 HIS MOTION TO DISMISS
 16   GAVIN NEWSOM et al.,
                                            Date:              10:00 a.m.
 17                             Defendants. Time:              February 29, 2024
                                            Courtroom:         8B
 18                                         Judge:             The Hon. Maame Ewusi-
                                                               Mensah Frimpong
 19                                              Trial Date: TBD
                                                 Action Filed: May 25, 2023
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  1                                     INTRODUCTION
  2        Plaintiffs agree with Governor Newsom (the Governor) that it is well
  3   established that a generalized duty to enforce state law or a general supervisory
  4   power will not subject the Governor to suit. Compare ECF No. 43 at 4 with ECF
  5   No. 56 at 10. For the reasons set forth in the Governor’s Motion to Dismiss and
  6   below, this mandates the dismissal of Plaintiffs’ claims against the Governor.
  7        Other than this admission, which is fatal to their claims, Plaintiffs’ opposition
  8   is inaccurate and ignores the Governor’s arguments. Specifically: (1) The cases
  9   Plaintiffs cite do not stand for the proposition that courts routinely uphold claims
 10   against governors in the child welfare context—they largely do not address the
 11   issue; (2) Plaintiffs claim the First Amended Complaint (FAC) alleges specific facts
 12   about the Governor’s knowledge and inaction, but the one paragraph to which
 13   Plaintiffs cite does not mention the Governor; (3) Plaintiffs claim that the
 14   Governor may be liable here because he appoints the Director of the Department of
 15   Social Services (CDSS), CDSS issues an annual fiscal report to him, and the
 16   Governor proposes the statewide budget to the Legislature; but if that were enough,
 17   then the Governor could be liable for most state action or inaction and Plaintiffs
 18   concede he is not; (4) Plaintiffs do not dispute or address the fact that they seek no
 19   relief from the Governor; and (5) Plaintiffs do not address or distinguish the
 20   authority the Governor cites supporting his dismissal.
 21        For these reasons, the claims against the Governor should be dismissed.
 22                                        ARGUMENT
 23        First, the cases Plaintiffs cite are irrelevant and Plaintiffs’ citation to them is
 24   misleading. See ECF No. 56 at 11. The single case Plaintiffs cite in the body of
 25   their opposition, Connor B. v. Patrick, 771 F. Supp. 2d 142, 159 (D. Mass. 2011), is
 26   factually distinct because that case involved an executive order of the governor.
 27   See id. (“Significantly, [the Governor’s] issuance of the executive order initially
 28   establishing the Office [of the Child Advocate] represents direct involvement in the
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  1   ongoing maintenance of the state child welfare system.”). There is no similar
  2   allegation in this case and the rest of Plaintiffs’ cases do not address the issue
  3   before this Court at all. 1 These “authorities” are precedent for only the fact that
  4   these attorneys sometimes sue governors and sometimes those governors do not
  5   seek dismissal.2
  6        Second, Plaintiffs misrepresent their own complaint. Plaintiffs claim that the
  7   FAC “alleges Governor Newsom knew CFS was failing and did not take the
  8   necessary steps to protect San Bernardino County’s foster children.” ECF No. 56 at
  9   11 (citing FAC ¶ 136). Paragraph 136, however, does not mention the Governor.
 10   Instead, it states, in full:
 11        The State Defendants are not taking the necessary steps to oversee and rein
 12        in CFS to protect foster children. They have long been aware of CFS’s
 13        failures yet have not taken the necessary steps to correct these failures,
 14        which continue to harm the children in CFS’s custody. The Grand Jury
 15        noted in 2022 that “CFS has no local accountability, which allows them to
 16        operate behind an air of confidentiality, [which makes] any accountability
 17        for their actions [] extremely difficult.
 18    ECF No. 34, ¶ 136. Having failed to specifically identify, or plead any conduct by,
 19   the Governor, this paragraph falls short of pleading facts that if true would establish
 20   his personal involvement. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2005 (complaint
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               Jonathan R. v. Justice, 41 F.4th 316, 320 (4th Cir. 2022) (does not address
 22   viability of claim against governor); M.D. v. Abbott, 907 F.3d 237, 247 (5th Cir.
      2018) (same); Sam M., 608 F.3d 77, 82 (same); Marisol A. by Forbes v. Giuliani,
 23   126 F.3d 372, 374 (2d Cir. 1997) (same); Juan F. by & Through Lynch v. Weicker,
      37 F.3d 874, 876 (2d Cir. 1994) (same); Wyatt B., 2021 U.S. Dist. LEXIS 184389,
 24   at *4 (D. Or. Sept. 27, 2021) (same); D.G. v. Henry, 2011 U.S. Dist. LEXIS 38709,
      at *2 (N.D. Okla. Apr. 8, 2011) (same); Dwayne B., 2007 U.S. Dist. LEXIS 28265,
 25   at *2 (E. D. Mich. Aor. 17, 2007) (same); Olivia Y. v. Barbour, 351 F. Supp. 2d
      543, 546 (S.D. Miss. 2004) (same); Kenny A. v. Perdue, 218 F.R.D. 277, 284 (N.D.
 26   Ga. Aug. 18, 2003) (same); Brian A. by Brooks v. Sundquist, 149 F. Supp. 2d 941,
      944 (M.D. Tenn. 2000) (same); Charlie H. v. Whitman, 83 F. Supp. 2d 476, 515
 27   (D.N.J.2 2000) (same).
               In almost all of the cases Plaintiffs cite, their attorney in this case is counsel
 28   of record.
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  1   must contain sufficient factual matter, accepted as true, to plausibly allow the
  2   reasonable inference that the defendant is liable for the misconduct alleged).
  3        Third, Plaintiffs’ claim that this case falls outside the general rule that the
  4   Governor is not liable for claims predicated on his general supervisory and
  5   enforcement powers because (a) CDSS reports to the Governor; (b) the Governor
  6   appoints the Director of CDSS; and (c) the Governor proposes the statewide
  7   budget. ECF No. 56 at 11. If that were enough (and it is not), then the exception
  8   would swallow the rule. See ECF No. 43 at 5. The Director of CDSS is far from
  9   the only appointed official who reports to the Governor. See, e.g., Cal. Bus. &
 10   Prof. C. §§151, 312 (Director of Consumer Affairs holds office at the Governor’s
 11   pleasure and issues annual report to Governor). The Governor appoints hundreds of
 12   state agency secretaries and directors of state departments and makes thousands of
 13   other appointments.3 And the state budget covers every state agency and
 14   department and countless other expenditures. 4
 15        Fourth, Plaintiffs do not dispute and do not address the fact that they seek no
 16   injunctive relief from the Governor and none of the declaratory relief they seek
 17   relates to actions taken by him. Compare ECF No. 43 at 5 with ECF No. 56 at 11.
 18        Fifth, and finally, Plaintiffs ignore and do not distinguish the ample authority
 19   cited throughout the Governor’s motion supporting the dismissal of this lawsuit
 20   against him. Compare ECF No. 43 at 5-6 with ECF No. 56 at 11.
 21                                      CONCLUSION
 22        For all the foregoing reasons, the Governor respectfully requests that the Court
 23   dismiss him from this action with prejudice.
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               See https://www.calhr.ca.gov/state-hr-professionals/Pages/appointed-state-
      officials.aspx (last visited January 16, 2024); https://www.gov.ca.gov/board-
 27   commission-appointees/      (last visited January 16, 2024).
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               See https://ebudget.ca.gov/budget/2023-24EN/#/Home (last visited January
 28   16, 2024).
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  1 Dated: January 16, 2024                      Respectfully submitted,
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  1                            CERTIFICATE OF COMPLIANCE
  2        The undersigned, counsel of record for Defendant Governor Gavin Newsom,
  3   certifies that this brief contains 877 words, which:
  4        _X_ complies with the word limit of L.R. 11-6.1.
  5        ___ complies with the word limit set by court order.
  6
  7   Dated: January 16, 2024                         Respectfully submitted,
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 10                                                   /s/ Jacquelyn Young
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                                   CERTIFICATE OF SERVICE
 Case Name:         Gary G., et al. v. Gavin               No.    5:23-cv-00947 MEMF
                    Newsom, et al.                                (BFMx)

 I hereby certify that on January 16, 2024, I electronically filed the following documents with the
 Clerk of the Court by using the CM/ECF system:
 GOVERNOR GAVIN NEWSOM’S REPLY BRIEF IN SUPPORT OF HIS MOTION TO
 DISMISS
 I certify that all participants in the case are registered CM/ECF users and that service will be
 accomplished by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on January
 16, 2024, at Los Angeles, California.


                 Anthony Conklin
                    Declarant                                         Signature

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